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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

UNITED STATES OF AMERICA,                    CR 17-16-GF-BMM

            Plaintiff,

     vs.                                     PRELIMINARY ORDER OF
                                             FORFEITURE
STORY LEE WOOD,

            Defendant.



      THIS MATTER comes before the Court on the United States’ Motion for

Preliminary Order of Forfeiture. Defendant Story Lee Wood appeared before the

Court on May 30, 2017, and entered a plea of guilty to Count VIII of the

Indictment. He also admitted the forfeiture allegation. Wood’s plea provides a

factual basis and cause to issue an Order of Forfeiture, pursuant to 18 U.S.C.

§ 924(d).



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      IT IS ORDERED:

      THAT Wood’s interest in the following property is forfeited to the United

States in accordance with 18 U.S.C. § 924(d).

       Harrington & Richardson (H&R), model 532, .32 caliber revolver, with
        serial number BA037337;

       Ruger, model LCP, .380 auto caliber, semi-automatic pistol, serial
        number obliterated;

       Haskell Manufacturing, Inc. (Hi-Point Firearms), model JHP, .45 caliber,
        semi-automatic pistol, serial number X435625; and

      THAT the United States Marshals Service and the Bureau of Alcohol,

Tobacco, Firearms and Explosives are directed to seize the property subject to

forfeiture and further to make a return as provided by law;

      THAT the United States will provide written notice to all third parties

asserting a legal interest in any of the above-described property and will post on an

official government internet site (www.forfeiture.gov) for at least 30 consecutive

days as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty

or Maritime Claims and Asset Forfeiture Actions of the Court’s Preliminary Order

and the United States’ intent to dispose of the property in such manner as the

Attorney General may direct, pursuant to 18 U.S.C. § 924(d) and 21 U.S.C.




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§ 853(n)(1), and to make its return to this Court that such action has been

completed; and

      THAT upon adjudication of all third-party interests, if any, the Court will

enter a Preliminary Order of Forfeiture.

DATED this 2nd day of June 2017.




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